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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     LAREDO DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    VOLUSION, LLC,1                                                  ) Case No. 20-50082 (DRJ)
                                                                     )
                              Debtor.                                )
                                                                     ) Relates to Docket No. 183, 177, 169,
                                                                       170 & 178

                                      NOTICE OF RESET HEARINGS

       PLEASE TAKE NOTICE that on April 14, 2021, the Reorganized Debtor filed its Motion
to Enforce Confirmation Order (“Enforce Motion”) [Docket No. 183];

       PLEASE TAKE FURTHER NOTICE that on March 30, 2021, the Claimants Bardia
Dejban and Bahar Dejaban filed their Motion for Modification of Discharge Injunction
(“Discharge Injunction Motion”) [Docket No. 177];

         PLEASE TAKE FURTHER NOTICE that on February 26, 2021, the Reorganized
Debtor filed its Reorganized Debtors' Objection to the Proofs of Claim Nos. 16 and 22 Filed by
Bahar Dejban [Docket No. 169] Reorganized Debtors' Objection to the Proofs of Claim Nos. 15,
20, and 23 Filed by Bardia Dejban [Docket No. 170] and on April 5, 2021 the Reorganized Debtor
filed its Reorganized Debtors' Amended Objection to the Proofs of Claim Nos. 16, 21, and 22 Filed
by Bahar Dejban [Docket No. 178] (collectively the “Dejban Objections”);

        PLEASE TAKE FURTHER NOTICE that the hearing on the Enforce Motion, Discharge
Injunction Motion and Dejban Objections previously scheduled for May 5, 2021 at 1:00 p.m.
(prevailing Central Time) has been reset to May 12, 2021 at 12:00 p.m. (prevailing Central
Time) before the United States Bankruptcy Judge David R. Jones, Courtroom No. 400, 515 Rusk,
Houston, TX 77002.

       PLEASE TAKE FURTHER NOTICE that audio communication will be by use of the
Court’s dial-in facility. You may access the facility at (832) 917-1510. You will be responsible for
your own long distance charges. Once connected, you will be asked to enter the conference room
number. Judge Jones conference room number is 205691.

      PLEASE TAKE FURTHER NOTICE that you may view video via GoToMeeting. To
use GoToMeeting, the Court recommends that you download the free GoToMeeting application.
To connect, you should enter the meeting code “JudgeJones” in the GoToMeeting app or click the

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    The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s federal
    tax identification number, is: Volusion, LLC (9037). The Reorganized Debtor’s service address is 1835A Kramer
    Lane, Suite 100, Austin, TX 78758.
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link on Judge Jones home page on the Southern District of Texas website. Once connected, click
the settings icon in the upper right corner and enter your name under the personal information
setting.

        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made
electronically in advance of the hearing. To make your electronic appearance, go to the Southern
District of Texas website and select “Bankruptcy Court” from the top menu. Select “Judges’
Procedures,” then “View Home Page” for Judge Jones. Under “Electronic Appearance” select
“Click here to submit Electronic Appearance”. Select the case name, complete the required fields
and click “Submit” to complete your appearance.

        PLEASE TAKE FURTHER NOTICE that any exhibit offered by the Reorganized
Debtor will be filed on the Court’s docket. Any party may also obtain an electronic copy of the
exhibits by request to counsel to the Reorganized Debtors.

       PLEASE TAKE FURTHER NOTICE that if any party wishes to offer exhibits, it is
recommended that these exhibits be filed on CM/ECF. Each exhibit should be filed as a separate
attachment to an Exhibit List in compliance with BLR 9013-2.



 May 4, 2021
                                                     /s/ Jennifer F. Wertz
                                                     JACKSON WALKER LLP
                                                     Matthew D. Cavenaugh (TX Bar No. 24062656)
                                                     Jennifer F. Wertz (TX Bar No. 24072822)
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                                                     Email: mcavenaugh@jw.com
                                                     Email: jwertz@jw.com

                                                     Counsel to the Reorganized Debtor




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                                     Certificate of Service

        I certify that on the May 4, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Jennifer F. Wertz
                                                      Jennifer F. Wertz




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